Case 1:89-cr-00162-EGS Document 218 Filed 09/17/90 Page 1 of 16

= = ey
UNITED STATES DISTRICT COURT e | E LD
FOR THE DISTRICT OF COLUMBIA

 

United States of America,

 

Vv. Criminal No. 89-0162

 

 

Rayful Edmond, III, et al.

 

MEMORANDUM OPINION OF CHARLES R. RICHEY
UNITED STATES DISTRICT JUDGE

The Court has just completed sentencing eighteen defendants
on Count Two of the forty-three count Superseding Indictment
("Indictment") in the above-captioned case which charges conspiracy
to distribute or to possess with the intent to distribute more than
five kilograms of a mixture or substance containing a detectable
amount of cocaine or more than fifty grams of a mixture or
substance containing a detectable amount of cocaine base in

violation of 21 U.S.c. § 846.! At their sentencing hearings, most,

 

L The Court severed the Indictment in this case, which

involves twenty-nine defendants and forty-three counts, into four
separate trials. Other than the nine defendants who pled guilty,
all of the defendants were convicted of conspiracy in the first two
trials. The Court set aside the conspiracy conviction of one of
the defendants in the second trial on the ground of insufficiency
of evidence. In addition to the nine defendants named in the
Indictment who pled guilty, the Court sentenced five other
defendants (three cooperated with the government) who pled guilty
to 21 U.S.C § 846 or 18 U.S.C. § 371 because of their participation
in the conspiracy charged in Count Two.

The eighteen defendants who have been sentenced for conspiracy
are Rayful Edmond, III, Melvin D. Butler, James Antonio Jones,
Jerry R. Millington, Tony Lewis, Willie G. Childress, Keith E.
Cooper, Columbus Daniels, Rachelle Edmond, Robert M. Hardy, Bernice
Hillman McCraw, David W. McCraw, John Monford, Armaretta B. Perry,
Constance D. Perry, Melvin E. Stewart, Jeffrey L. Thompson, and
Raynice Thompson. The defendant Emanuel Sutton remains to be
sentenced on October 5, 1990.
Case 1:89-cr-00162-EGS Document 218 Filed 09/17/90 Page 2 of 16

2

if not all, of these eighteen defendants raised three identical
objections to their Presentence Investigation Reports prepared by
the Probation Office. The first objection is the Probation
Office's computation of their base offense level based on fifty or
more kilograms of cocaine when the jury convicted them of a
conspiracy to distribute or to possess with the intent to
distribute five or more kilograms of cocaine. The second
objection, which was initially made by the defendant Rayful Edmond,
III and was subsequently adopted by many of his co-defendants, is
that the object of the conspiracy of which they stand convicted was
engaging in a continuing criminal enterprise ("CCE") rather than
the distribution or the possession with the intent to distribute
cocaine. The third objection is to the Probation Office's
assessment of a two-level enhancement to each defendant's base
offense level pursuant to § 2D1.1(b)(1) of the Sentencing
Guidelines for the possession of guns during the conspiracy.

Upon careful consideration of the legal memoranda filed by the
defendants and the government prior to sentencing, the arguments
advanced by each defendant and the government at the sentencing
hearings, the applicable provisions of the Sentencing Guidelines,
and the case law construing them, the Court adopted the Probation
Office's recommendation that each defendant be given a base offense
level of 36 and a two-level enhancement for guns and rejects the
argument that engaging in a continuing criminal enterprise is the
object of the conspiracy of which the defendants stand convicted.

At each defendant's sentencing hearing, the Court announced from
Case 1:89-cr-00162-EGS Document 218 Filed 09/17/90 Page 3 of 16

3
the bench the portions of the record and the legal authority upon
which it relied in assigning each defendant a base offense level
of 36 and a two-level enhancement for guns. This opinion

memorializes those oral findings of fact and conclusions of law.

I. Appropriate Drug Quantity for Determining Base Offense
Level

Defendants! reliance upon the jury's verdict and the quantity
of cocaine specified in the count of the Indictment charging
conspiracy in arriving at the appropriate base offense level is
misplaced. In fact, some district courts have been reversed for
calculating the base offense level, as the defendants urge, solely
on the basis of the quantity of cocaine specified in the Indictment

and supported by the jury's verdict. See, e.g., United States v.

 

Schaper, 903 F.2d 891, 897 (2d Cir. 1990) (holding that district
court erred in accepting defense counsel's argument that quantity
of cocaine for purposes of sentencing should be confined to amounts
seized and charged); United States v. Moreno, 899 F.2d 465, 473
(6th Cir. 1990) (holding that "district court is not bound by the
jury's verdict . . . despite the jury's finding as to the quantity
of drugs involved in the conspiracy or scheme" and that "[t)he
district court committed error . . . by considering itself bound
at sentencing by the jury's findings").

The penalty for a § 846 conspiracy is calculated pursuant to
§ 2D1.1 of the Sentencing Guidelines. "Under § 2D1.1, sentencing

for violation of § 846 is largely determined by the quantity of
Case 1:89-cr-00162-EGS Document 218 Filed 09/17/90 Page 4 of 16

4
drugs involved and the type of narcotic as outlined in § 2D1.1(c).
Under § 2D1.1(c), the judge is required to make a finding of the
approximate amount of drugs involved in order to apply the
Guidelines." United States v. Reynolds, 900 F.2d 1000, 1003 (7th
Cir. 1990). The district court's factual finding as to the
quantity of drugs, which may be reversed only if clearly erroneous,
see United States v. Buggs, 904 F.2d 1070, 1077 (7th Cir. 1990);
United States v. Davis, 902 F.2d 860, 861 (11th Cir. 1990); United
States v. Rivera, 898 F.2d 442, 445 (5th Cir. 1990), must be
supported by a preponderance of the evidence, see Schaper, 903
F.2d at 898-99; Moreno, 899 F.2d at 472-73; United States v.

Powell, 886 F.2d 81, 85 (4th Cir. 1989), cert. denied, 110 S. Ct.

 

1144 (1990).

The Guidelines make it clear that a court making a finding as
to the quantity of drugs involved is not bound by the quantity of
drugs for which a defendant was indicted or convicted, United
States v. Wayne, 903 F.2d 1188, 1197 (8th Cir. 1990); Rivera, 898
F.2d at 445, or the amounts seized, Schaper, 903 F.2d at 897, or
even the quantity a defendant actually handled, United States v.
Drew, 894 F.2d 965, 972 (8th Cir.), cert. denied, 110 S. Ct. 1830
(1990). Instead, the Guidelines provide that "a sentencing court
must consider a defendant's involvement with quantities of
narcotics not charged in the count(s) of conviction when such
conduct was undertaken in the same course of conduct as the offense

of conviction." Schaper, 903 F.2d at 897-88 (citing U.S.S.G. §
Case 1:89-cr-00162-EGS Document 218 Filed 09/17/90 Page 5 of 16

5
1B1.3(a)(2) (Jan. 15, 1988));? see also United States v. Alston,
895 F.2d 1362, 1369-72 (11th Cir. 1990) (upholding sentence where
"the district court determined the base level for the amount of
cocaine involved in the scheme and not merely the four ounces
charged in the count to which [the defendant] had entered his
plea"). Accordingly, in arriving at the appropriate base offense
level, the Court's task is to make a finding by a preponderance of
the evidence as to the quantity of cocaine involved in the

conspiracy of which the defendants were convicted. See Drew, 894

 

F.2d at 972 (holding that Guidelines provide for calculation of
defendant's base offense level based on the 341 grams involved in
the conspiracy rather than the 66.1 grams he sold himself).

Based upon testimony at the first two trials, the Court
reaches the inescapable conclusion that the conspiracy involved

3

more than fifty kilograms of cocaine.” Without combing through the

 

2 The applicable Guideline, § 1B1.3(a)(2) provides that "all
such acts or omissions that were part of the same course of conduct
or common scheme or plan as the offense of conviction" are
"relevant to determining the applicable guideline range." The
Commentary to that Guideline explains that "types and quantities
of drugs not specified in the count of conviction are to be
included _ in determining the offense level if they are part of the
same course of conduct or part of the same scheme or plan as the
count of conviction." U.S.S.G. § 1B1.3(a) (2), Application Note 5
(Jan. 15, 1988) (emphasis added).

3 "The November 1989 revisions of the Sentencing Guidelines
modified the drug quantity table to designate higher offense levels
for categories corresponding to amounts of cocaine in excess of
fifty kilograms, see U.S.S.G. § 2D1.1(c) (Nov. 1, 1989) (drug
quantity table), but those guidelines are applicable only to
offenses committed after November 1, 1989." Schaper, 903 F.2d at
896 n.4 (citing United States v. Guerrero, 863 F.2d 245, 250 (2d
Cir. 1988)). The conspiracy of which the defendants were convicted
terminated on or about April 16, 1989. Accordingly, the Court must
look to the drug quantity table in the January 15, 1988 version of
Case 1:89-cr-00162-EGS Document 218 Filed 09/17/90 Page 6 of 16

6

testimony of the witnesses at the first two trials or the exhibits
received in evidence, the Court can immediately identify several
instances of witnesses testifying credibly about quantities of
cocaine in excess of fifty kilograms. Much of the cocaine
distributed during the course of the conspiracy came from the
defendant Melvin Butler's connections in California. Typically,
Rayful Edmond, III would send couriers to California to deliver
money to Melvin Butler for the purchase of cocaine; a short time
thereafter, Butler would send couriers to the Washington, D.C. area
with the cocaine. Various members of the conspiracy would pick up
the cocaine from Butler's couriers at one of the hotels near
National Airport. For instance, at both trials, James Minor
testified that he and David McCraw picked up fifty kilograms of
cocaine from a gentleman from California at the Day's Inn Hotel in
Crystal City, Virginia in August, 1988.4 Royal Brooks also picked
up substantial quantities of cocaine from various hotels in Crystal
City. On one occasion, he picked up as much as 77 kilograms of
cocaine; on another occasion, he picked up 58 kilograms of cocaine.

After a member of the conspiracy picked up the cocaine in

Crystal City, it was stored in one of many locations; one such

 

the Guidelines in determining the appropriate base offense level.

Although Minor was unable to identify the person from whom
he and David McCraw received the cocaine, other evidence adduced
during the second trial demonstrated that this person was the
defendant Willie G. Childress. It should also be noted that Minor
testified during the second trial that David McCraw had told him
that he had gone to the Day's Inn alone the week before to pick up
another fifty kilograms of cocaine; the Court does not recall
whether Minor so testified during the first trial.
Case 1:89-cr-00162-EGS Document 218 Filed 09/17/90 Page 7 of 16

7
location was the apartment of Royal Brooks. At trial, Royal Brooks
testified that at any one time he stored anywhere from 89 to 93
kilograms of cocaine at his apartment under a platform bed. Almost
immediately after Brooks' arrest, the defendant Columbus Daniels
removed approximately 90 kilograms of cocaine from _ Brooks'
apartment at Rayful Edmond, III's direction.

Alta Rae Zanville testified about breaking down kilograms of
cocaine into smaller amounts and packaging it for sale. For a
nine-month period, the defendants David and Bernice McCraw went to
Zanville's apartment to bag cocaine with her three times a week;
each time they packaged one to two kilograms of cocaine. This
means that Zanville and the McCraws packaged somewhere between 108
and 216 kilograms of cocaine over a nine-month period. After the
nine-month period in which she packaged cocaine with the McCraws,
Zanville packaged cocaine with Jeffrey and Raynice Thompson for a
period of three months. Zanville packaged approximately 36
kilograms of cocaine with the Thompsons during this three-month
period because she packaged approximately one kilogram with them
three times a week.

Based on the trial testimony of Minor, Brooks, and Zanville,
the Court cannot avoid the conclusion that the government has
established that the conspiracy of which the defendants stand
convicted involved more than fifty kilograms of cocaine. Moreover,
the Court finds that each of these defendants knew or should have
reasonably foreseen that fifty or more kilograms of cocaine were

distributed during the course of the conspiracy. Accordingly, the
Case 1:89-cr-00162-EGS Document 218 Filed 09/17/90 Page 8 of 16

8

Court assigns each defendant a base offense level of 36.

II. Object of the Conspiracy

The defendant Rayful Edmond, III argues that the Probation
Office and the government have incorrectly calculated his adjusted
offense level for his conspiracy conviction by referring to the
wrong object of the conspiracy.® While the Probation Office and
the government argue that the defendant Edmond was convicted of
conspiracy to distribute or to possess with the intent to
distribute more than five kilograms of cocaine or more than fifty
grams of cocaine base, the defendant Edmond argues that the object
of the conspiracy was engaging in a CCE. In either case, the base

offense level would be 36. Compare U.S.S.G. § 2D1.5 (CCE) with

 

U.S.S.G. § 2D1.1(a) (3) (distribution of or possession of with the
intent to distribute fifty or more kilograms of cocaine). However,
if the object of the conspiracy were distribution of or possession
of with the intent to distribute cocaine, the sentencing court
could arrive at a significantly higher adjusted offense level by
applying enhancements for role in the offense or possession of a
firearm, see U.S.S.G. §§ 3B1.1, 2D1.1(b), whereas the application
notes to the CCE Guideline provision do not contemplate these
enhancements, see § 2D1.5.

In making this argument, the defendant ignores common sense

and the law of CCE and conspiracy and distorts the manner in which

 

6 The Sentencing Guidelines do not assign the offense of

conspiracy a separate base offense level, but U.S.S.G. § 2D1.4
requires the sentencing court to apply the base offense level
assigned to the offense which is the object of the conspiracy.
Case 1:89-cr-00162-EGS Document 218 Filed 09/17/90 Page 9 of 16

9

the government prosecuted this case. The Indictment charged the
defendant Edmond with, inter alia, CCE and in a separate count with
conspiracy to distribute or to possess with the intent to
distribute cocaine or cocaine base, and neither the government's
manner of trying this case nor the jury's verdict of guilty on both
counts were inconsistent with this Indictment. Furthermore, it was
clear that the conspiracy of which the defendant Edmond was
convicted was one of the "continuing series" of narcotics-related
predicate offenses required by the CCE statute, 21 U.S.C. § 848(b),
and therefore was an element of the offense of CCE, see Court's
Jury Instructions at 35. This exposes the hopelessly circular
nature of the defendant Edmond's argument that would have CCE be
the object of a conspiracy which in turn is an element of CCE.
Thus, a conspiracy with CCE as its object in effect would be a
"conspiracy to conspire," which would not be an offense under even
the most expansive view of conspiracy law.

In view of the foregoing, it is understandable that the
defendant Edmond has not pointed to a single case in which a
defendant was charged with or convicted of "conspiracy to commit
CCE" to counteract the deluge of cases in which defendants have
been convicted of both CCE and conspiracy, see, e.g., Garrett v.
United States, 471 U.S. 773, 776 (1985) (CCE and conspiracy to
import and to possess with intent to distribute narcotics) ; Jeffers
v. United States, 432 U.S. 137, 141 (1977) (CCE and conspiracy to
possess with intent to distribute narcotics); United States v.

Casamento, 887 F.2d 1141, 1157-59 (2d Cir. 1989) (CCE and
Case 1:89-cr-00162-EGS Document 218 Filed 09/17/90 Page 10 of 16

10

 

conspiracy to import and distribute narcotics), cert. denied, 110
S. Ct. 1138 (1990). Accordingly, in determining the defendant
Edmond's adjusted offense level for his conspiracy conviction, the
Court will look to the object of the conspiracy, namely
distribution of or possession of with the intent to distribute more
than five kilograms of cocaine or more than fifty grams of cocaine
base.°®

III. Two-Level Enhancement for the Possession of Firearms
During the Conspiracy

Section 2D1.1(b)(1) of the Guidelines directs sentencing
courts to enhance the base offense level of a defendant convicted
of certain narcotics-related offenses, such as a § 846 conspiracy,
by two levels if "a firearm or other dangerous weapon was possessed
aguring commission of the offense." Relying upon the analysis of
the decision by the United States Court of Appeals for this Circuit
in United States v. Burke, 888 F.2d 862 (D.C. Cir. 1989), many
defendants have argued that they should not receive a two-level
increase for the possession of firearms because they lacked the
requisite scienter.

In Burke, police officers at Union Station searched the
defendant's tote bag and found heroin and a gun inside. The
defendant then pled guilty to a drug charge in exchange for

dismissal of a gun charge. When he was sentenced, the defendant

 

6 Although some of the defendant Edmond's co-defendants have

"adopted" his overly creative "CCE as object of the conspiracy"
argument, this argument is totally inapplicable to the other
defendants who were not even charged with CCE.
Case 1:89-cr-00162-EGS Document 218 Filed 09/17/90 Page 11 of 16

11
received a two-level enhancement for the possession of a firearm
during the commission of a drug offense. The Court of Appeals held
that the sentencing judge erred in imposing this’ two-level
enhancement because it did not make a finding that the defendant
"knowingly possessed the gun found in his tote bag." Id. at 865
(emphasis in original).

The analysis in Burke, a _non-conspiracy case, is not
transferable to a conspiracy case such as this one because "a
defendant involved in a conspiracy, regardless of whether he [or
she] has possessed a firearm, can be punished as a principal based
on the rule of vicarious liability of coconspirators." United
States v. Long, 905 F.2d 1572, 1577 n.8 (D.C. Cir. 1990). The rule
of vicarious liability, also known as the Pinkerton theory, makes
a coconspirator liable for all substantive offenses committed by
his or her coconspirators in furtherance of the conspiracy.
Pinkerton v. United States, 328 U.S. 640, 646-48 (1946).

Section 1B1.3(a)(1) of the Guidelines and the accompanying
commentary embody the principle of vicarious liability.

[C]onduct that is relevant to determining the applicable

guideline range [consists of] all acts and omissions

committed or aided and abetted by the defendant, or for
which the defendant would be otherwise accountable, that
occurred during the commission of the offense of
conviction, in preparation for that offense, or in the
course of attempting to avoid detection or responsibility

for that offense, or that otherwise were in furtherance

of that offense.

U.S.S.G. § 1B1.3(a) (1). The commentary interpreting this provision

explains that "[i]Jf the conviction is for conspiracy, it includes

conduct in furtherance of the conspiracy that was known to or was
Case 1:89-cr-00162-EGS Document 218 Filed 09/17/90 Page 12 of 16

12

reasonably foreseeable by the defendant." U.S.S.G. § 1B1.3(a) (1),

Application Note 1 (emphasis added);’ see also United States v.

 

Garcia, No. 89-10332, 1990 WESTLAW 106221 at 2 (9th Cir. July 31,
1990) (to be reported at 909 F.2d 1346) (holding that sentencing
court, before giving the defendant a two-level enhancement for
possession of a firearm, must’ determine: (1) whether a
coconspirator possessed a firearm during the conspiracy and (2)
whether the defendant reasonably could have foreseen’ the
coconspirator's possession of, the firearm); United States v.
Willis, 899 F.2d 873, 874 (9th Cir. 1990) (holding that reasonable
foreseeability is standard for determining whether a coconspirator
is liable for another coconspirator's possession of a firearm); cf.
United States v. Otero, 890 F.2d 366, 367 (1ith Cir. 1989) (per
curiam) (upholding enhancement for firearms possession even though
defendant claimed he was unaware of coconspirator's possession of
a firearm).

Guns and ammunition played an integral role in the conspiracy
of which the defendants stand convicted. At trial, several
officers of the Metropolitan Police Department testified about

pistols, revolvers, rifles, machine guns, and assorted ammunition

 

7 It should be noted that the Pinkerton theory differs from
the concept of vicarious liability embodied in § 1B1.3(a)(1) of the
Guidelines in that reasonable foreseeability is not required under
the Pinkerton theory. See Devitt & Blackmar, Federal Jury Practice
and Instructions, § 27.17, at 43 (1977) (to hold a coconspirator
vicariously liable under the Pinkerton theory, the government must
prove "[f]jirst that the offense defined in the substantive count
was committed pursuant to the conspiracy, and [s]Jecond that the
particular defendant was a member of the conspiracy at the time the
substantive offense was committed").
Case 1:89-cr-00162-EGS Document 218 Filed 09/17/90 Page 13 of 16

13

which were found alongside cocaine and packaging materials in the
various stash houses out of which the members of the conspiracy
operated. In addition, a gun and cocaine were seized from the
alley between Morton and Orleans Place, N.E. out of which members
of the conspiracy transacted cocaine sales.°® Because of the
proximity of the weapons and ammunition to the cocaine distributed
during the course of the conspiracy, it is more likely than not
that members of the conspiracy knowingly possessed them during the
conspiracy. See United States v. Restrepo, 884 F.2d 1294, 1296
(9th Cir. 1989) (holding that sentencing court reasonably inferred
that defendant possessed weapon during commission of the offense
when the weapon was found hidden in the same room in which the
defendant kept equipment used for the distribution of drugs);
United States v. Jones, 875 F.2d 674, 676 (8th Cir. 1989) (member
of conspiracy possessed guns because "they were located in close
proximity to the drugs [he] was in the business of distributing").

In addition to the guns and ammunition found in the stash
houses and the alley, the defendant John Monford reached for an
operable 9 mm semi-automatic pistol located in a nightstand in his
bedroom at 407 M Street, N.E., the conspiracy's headquarters, when

officers were executing a search warrant for the premises on

 

8 Although the alley constitutes a public space to which all

members of the public have access, the Court finds that it is more
likely than not that the gun found in the alley had been knowingly
possessed by a member of the conspiracy. In a wiretapped
conversation between the defendant Jerry Millington and an unknown
male (Government's Exhibit 398A), the unknown male asks Millington
whether the Uzi seized from the alley had anything on it.
Millington responds to the unknown male by saying "[njah."
Case 1:89-cr-00162-EGS Document 218 Filed 09/17/90 Page 14 of 16

14

February 5, 1988. Earlier that day, the defendant Melvin Stewart
sold one ounce of cocaine to an undercover officer from 407 M
Street. The presence of the gun at the conspiracy's headquarters
out of which transactions were negotiated and in which cocaine and
money were stored strongly supports a finding that this pistol was
knowingly possessed by a coconspirator during the conspiracy. See
United States v. Durrive, 902 F.2d 1221, 1231-32 (7th Cir. 1990)
("While the temporal and spatial dimensions of a conspiracy are
often difficult to delineate, the presence of the gun in the
conspirator's headquarters several hours before a buyer was to
appear and the day after negotiations for a buy took place strongly
support a finding that Durrive possessed the weapon during the life
of the conspiracy.").

The possession of guns by various conspirators during the
course of the conspiracy was reasonably foreseeable to each of the
eighteen conspirators who have been sentenced on the conspiracy
count. Guns were a topic of conversation amongst some conspirators
as demonstrated by several conversations which were recorded
pursuant to a court-authorized wiretap. See, e.g., Government's
Exhibit 357A (Armaretta Perry telling John Monford "[t]he FBI is
watching my house for the nigger who had them pistols around
here"); Government's Exhibit 358A (Armaretta Perry telling Bernice
Hillman McCraw that Melvin Stewart had a gun with him, and the only
thing he was going to do with the gun was shoot himself because he
was so inept); Government's Exhibit 393A (conversation between

John Monford and an unknown male in which Monford refers to guns
Case 1:89-cr-00162-EGS Document 218 Filed 09/17/90 Page 15 of 16

15
as "guzans" so anyone listening in on the conversation would have
a hard time understanding its substance) ; Government's Exhibit 398A
(Jerry Millington and an unknown male discussing a gun and drugs
that law enforcement officers seized from the alley between Morton
and Orleans Place).

Moreover, the large quantity of cocaine purchased, bagged, and
sold during the life of the conspiracy made it reasonably
foreseeable to each defendant that one or more of his or her
coconspirators would possess a gun to protect the cocaine and the
resulting profits. See United States v. Garcia, No. 89-01332, 1990
WESTLAW 106221 at 3 (9th Cir. July 31, 1990) (to be reported at
909 F.2d 1346) (where defendant did not have actual knowledge of
coconspirator's possession of a gun, court held that "(ijn light
of the large amounts [of cocaine (17 kilograms) ] involved in this
case, [the coconspirator's] possession of the gun was reasonably
foreseeable"); United States v. Aguilera-Zapata, 901 F.2d 1209,
1215-16 (5th Cir. 1990) (holding that a sentencing court "may
ordinarily infer that a defendant should have foreseen a co-
defendant's possession of a dangerous weapon such as a firearm, if
the government demonstrates that another participant knowingly
possessed the weapon while he and the defendant committed the
offense by jointly engaging in concerted criminal activity
involving a quantity of narcotics sufficient to support an
inference of intent to distribute"); United States v. Ramos, 861
F.2d 228, 231 n.3 (9th Cir. 1988) ("trafficking in narcotics is

very often related to the carrying and use of firearms"); United
Case 1:89-cr-00162-EGS Document 218 Filed 09/17/90 Page 16 of 16

16
States v. Gironda, 758 F.2d 1201, 1213 (7th Cir.) ("'It cannot be
denied that the possession of firearms at a narcotics transaction
increases the probability of the transaction's success and, thus,
is an act in furtherance of the conspiracy.'" (quoting United
States v. Grant, 448 F. Supp. 781, 782 (W.D. Pa. 1978)), cert.
denied, 474 U.S. 1004 (1985); United States v. Alvarez, 755 F.2d
830, 849 (11th Cir.) ("We have previously acknowledged the ‘'nexus'
between weapons and drugs, and we have also recognized that weapons
have become 'tools of the trade' for those involved in the
distribution of illicit drugs." (quoting United States v. Montes-

Cardenas, 746 F.2d 771, 776 (11th Cir. 1984)), cert. denied, 474

 

F.2d 905 (1985).

For the foregoing reasons, the Court adopted the Probation
Office's recommendation that each defendant be given a base offense
level of 36 and that the base offense level of each defendant be
enhanced by two levels pursuant to §2D1.1(b)(1) of the Sentencing

Guidelines for the possession of guns during the ey _

L Lh, p LMEL L,

September (qt 1990 “CHARLES R. RItCHET a
UNITED STATES DISTRICT JUD

”

    
     
 

 
